
WALLACE, Circuit Judge,
concurring:
I concur in the opinion because I agree that the trustee did not follow section 503(b)’s requirement that the payment be made only “after notice and a hearing.” The trustee does not argue that notice was somehow “[in]appropriate in the[se] particular circumstances.” 11 U.S.C. § 102(1)(A). I write separately, however, to highlight for the court on remand my concerns about the timeliness of Drey-fuss’s objection.
The thrust of Dreyfuss’s argument over the course of this litigation has been that the trustee paid the wrong amount of taxes. The majority opinion, however, focuses instead on Dreyfuss’s alternative argument — that the trustee failed to provide a “notice and a hearing” before making the tax payment. But the opinion does not address the timeliness of Dreyfuss’s original objection in the bankruptcy court.
A party must object within a reasonable time or risk being deemed to have consented to the action to which it objects. Cf. Spaulding v. Univ. of Wash., 740 F.2d 686, 695 (9th Cir.1984) (“Parties should object to a reference to a magistrate or a special master at the time the reference is made or within a reasonable time thereafter” or risk waiving the objection), overruled on other grounds by Atonio v. Wards Cove Packing Co., 810 F.2d 1477, 1482 (9th Cir. 1987). The record indicates that Dreyfuss knew as early as March 15, 2010, that the trustee made the tax payment in am amount to which he objected. But for some reason, Dreyfuss failed to object-to this payment until at least June 13, 2012— over two years after he had notice of the payment. Even if we give Dreyfuss the benefit of the doubt, and assume he did not officially know about the payment until the trustee filed the status report on July 19, 2011, that still leaves the court to question whether it was reasonable for Drey-fuss to sit on his objection for roughly a year. In my view, the court on remand ought to ventilate fully the issues surrounding the timeliness of Dreyfuss’s original objection to the tax payment.
